         Case 6:16-cv-00095-RP           Document 6        Filed 04/28/16      Page 1 of 6




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


YOLANDA SALDIVAR #733126                          §
                                                  §
V.                                                §            W-16-CA-095-RP
                                                  §
WILLIAM STEPHENS,                                 §
MELOYDE NELSON, WHITNEY                           §
FRANKS, and UTMB CONTRACTOR                       §




                                              ORDER

       Before the Court is Plaintiff’s complaint in which she asserts she was assigned to the top

bunk in her cell. According to Plaintiff, she reported to prison officials that she felt she would have

difficulty climbing up and down. On May 26, 2015, Plaintiff claims she fell, hitting her right side

of her head, hip, and ankle. Plaintiff alleges she complained of headaches, imbalance, and nausea

but was denied medial treatment because no providers were available. According to Plaintiff, she

was seen by a physician 10 days after her injury. Plaintiff asserts she was diagnosed with a

concussion after a CT scan was performed and she was given intravenous medications.

       Plaintiff sues Director William Stephens, Warden Meloyde Nelson, Assistant Warden

Whitney Franks, and the UTMB Contractor. She seeks $250,000 for compensatory damages and

$250,000 for punitive damages. After consideration of Plaintiff’s complaint, she will be ordered to

file a more definite statement.

       It is, therefore, ORDERED that Plaintiff shall file a more definite statement in which she

answers the following questions on or before May 26, 2016. See Fed. R. Civ. P. 12(e); Parker v.


                                                  1
         Case 6:16-cv-00095-RP           Document 6        Filed 04/28/16       Page 2 of 6




Carpenter, 978 F.2d 190, 191 (5th Cir. 1992); Spears v. McCotter, 766 F.2d 179, 180-81 (5th Cir.

1985). A failure to do so will cause this Court to recommend that Plaintiff’s complaint be dismissed

for want of prosecution.

       The questions the plaintiff is ORDERED to answer are as follows:

       1.      In your complaint, you have named Director William Stephens as a defendant. State
               exactly what it is that this defendant either personally did or failed to do while acting
               under color of state law that you believe violated your constitutional rights.
               Specifically state each and every injury, harm, damage or other adverse consequence
               which you suffered as a result of the acts or omissions of this defendant.




                                                  2
 Case 6:16-cv-00095-RP         Document 6        Filed 04/28/16       Page 3 of 6




2.   In your complaint, you have named Warden Meloyde Nelson as a defendant. State
     exactly what it is that this defendant either personally did or failed to do while acting
     under color of state law that you believe violated your constitutional rights.
     Specifically state each and every injury, harm, damage or other adverse consequence
     which you suffered as a result of the acts or omissions of this defendant.




3.   In your complaint, you have named Assistant Warden Whitney Franks as a defendant.
     State exactly what it is that this defendant either personally did or failed to do while
     acting under color of state law that you believe violated your constitutional rights.
     Specifically state each and every injury, harm, damage or other adverse consequence
     which you suffered as a result of the acts or omissions of this defendant.




                                        3
 Case 6:16-cv-00095-RP      Document 6       Filed 04/28/16        Page 4 of 6




4.   You have named the UTMB Contractor as a defendant. Are you attempting to sue
     UTMB or a specific employee of UTMB? Be specific.




5.   Who did you inform that you felt unsafe using the top bunk?




6.   Although you were not seen by a physician immediately after your injury, were you
     seen by other medical personnel for your injury?




                                     4
 Case 6:16-cv-00095-RP       Document 6       Filed 04/28/16     Page 5 of 6




7.   Describe in detail all of the medical attention and treatment you received for your
     injury sustained on May 26, 2015. Provide the dates on which the treatment was
     given.




8.   How were you harmed by not seeing a doctor until ten days after you sustained your
     injury on May 26, 2015?




                                      5
 Case 6:16-cv-00095-RP        Document 6        Filed 04/28/16     Page 6 of 6




9.     I declare, under penalty of perjury under the laws of the United States of America,
      that the foregoing is true and correct. Title 28 U.S.C. Section 1748. Signed this
      ____ day of _________, 2016.




                            ________________________________
                            Signature of Plaintiff


SIGNED on April 28, 2016.




                                  ROBERT L. PITMAN
                                  UNITED STATES DISTRICT JUDGE




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